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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF OKLAHOMA

QUILL INK BOOKS LIMITED, a foreign             )
corporation ,                                  )
              Plaintiff,                       )
                                               )
v.                                             )
(1) ABCD GRAPHICS AND DESIGN,                  )
INC., D/B/A BLUSHING BOOKS                     )
PUBLISHING, a foreign corporation              )
(2) RACHELLE SOTO a/k/a ADDISON                      Case No. 5:18-cv-00920-G
                                               )
CAIN, an individual, and                       )
(3) JOHN and JANE DOE, unknown                 )
individuals and online participants ,          )
               Defendants.                     )
                                               )
                                               )
                                               )


   DEFENDANT RACHELLE SOTO’S MOTION TO DISMISS PLAINTIFF’S FIRST
    AMENDED COMPLAINT FOR LACK OF PERSONAL JURISDICTION AND
         IMPROPER VENUE, OR, IN THE ALTERNATIVE, TRANSFER

       Pursuant to Federal Rules of Civil Procedure 12(b)(2) and (3), Defendant Rachelle Soto

appears specially to move the Court for an order dismissing Plaintiff Quill Ink Books Limited’s

(“Quill”) First Amended Complaint (Dkt. # 6) for lack of personal jurisdiction and improper

venue, or, alternatively, transfer pursuant to 28 U.S.C. § 1404(a). In support of this Motion, Mrs.

Soto states as follows:

                                       INTRODUCTION

       In this lawsuit, Plaintiff bears the burden of affirmatively proving personal jurisdiction

over Mrs. Soto, and it simply has not met that burden. As established by her Declaration

submitted herewith, Mrs. Soto is a Virginia resident and has no relevant jurisdictional contacts

with the State of Oklahoma. One of her publishers and co-defendant, ABCD Graphics and

Design Inc., d/b/a Blushing Books (“Blushing Books”), is incorporated and has its principal
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place of business in Virginia. The First Amended Complaint alleges generally that “Upon

information and belief, Defendants, and each of them, have sufficient contacts with this judicial

district generally and, in particular, with the events herein alleged, that each such Defendant is

subject to the exercise of jurisdiction of this court over the person of such Defendant” (Dkt. # 6,

¶ 6). No such contacts, however, are attributable to Mrs. Soto individually. Indeed, Plaintiff

Quill does not even allege it has actual knowledge of any such activities and relies on mere

“information and belief” to assert these general allegations.

       This case arises, in part, out of Digital Millennium Copyright Act (“DMCA”) takedown

notices sent by Blushing Books to various third-party online publishers and retailers. The First

Amended Complaint alleges that jurisdiction arose from a single DMCA takedown notice

Blushing Books sent to Draft2Digital, a third-party distributor in Oklahoma. As alleged in the

Amended Complaint, this is the only Oklahoma contact in the entire litigation. It fails to allege

any activity purposefully directed by Mrs. Soto into the State of Oklahoma relating in any way to

the present cause of action.

       Accordingly, because this Court lacks personal jurisdiction and venue is improper, Mrs.

Soto should be dismissed from this lawsuit, or, alternatively, this lawsuit should be transferred to

the Eastern District of Virginia.

                                    RELEVANT BACKGROUND

        Defendant Rachelle Soto is a USA Today and Amazon Top 25 bestselling author who

resides in the State of Virginia. Mrs. Soto writes under the pseudonym of Addison Cain and is

best known for her dark romances, including the internationally bestselling Alpha’s Claim Series.

Mrs. Soto’s Alpha’s Claim Series includes the books entitled Born To Be Bound: Book One,




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Born To Be Broken: Book Two and Reborn: Book Three.                 (Declaration of Rachelle Soto,

hereinafter “Soto Decl.,” ¶¶ 2, 8, attached hereto as Exhibit 1).

        On October 17, 2018, Quill filed its First Amended Complaint seeking a declaratory

judgment that the publication of the Myth of Omega series is lawful, injunctive relief against

Defendants from bringing any lawsuit or threat against Plaintiff Quill or Zoey Ellis for copyright

infringement for the publication of the Myth of Omega series, and damages for alleged copyright

misuse, misrepresentation, negligence, tortious interference, defamation, false light, and civil

conspiracy. (Dkt. # 6, Prayer for Relief). The Complaint as originally filed named Ms. Zoey

Ellis as a co-plaintiff with Quill (Dkt. 1); however, the First Amended Complaint names only

Quill as the sole Plaintiff (Dkt. # 6). The First Amended Complaint also names three (3)

defendants—(1) Rachelle Soto, an individual who resides in Virginia; (2) Blushing Books, a

Virginia corporation; and (3) unnamed John and Joe Doe, individuals with no identified

residences (Id.). Specifically, Quill’s allegations regarding jurisdiction and venue are that:

        6. Upon information and belief, Defendants, and each of them, have sufficient
        contacts with this judicial district generally and, in particular, with the events
        herein alleged, that each such Defendant is subject to the exercise of jurisdiction
        of this court over the person of such Defendant.

        7. Upon information and belief, based on the national reach of Defendants, and
        each of them, a substantial part of the events giving rise to the claims herein
        alleged occurred in this judicial district.

(Id. at 3).

        Mrs. Soto owns a home in Stafford, Virginia that serves as her primary residence along

with her home office (See Dkt. # 6, ¶ 11; Soto Decl. ¶¶ 2, 6). Mrs. Soto has a Virginia driver’s

license, pays Virginia state income tax, and is registered to vote in Virginia. (Id. ¶ 3). Mrs. Soto

does not personally conduct any business in the State of Oklahoma, does not have an Oklahoma

address or phone number, has never paid any Oklahoma state income tax, and has never filed any

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lawsuits in Oklahoma. (Id. ¶¶ 3-4). Mrs. Soto has never resided in Oklahoma, traveled to

Oklahoma, been employed in Oklahoma, or owned any assets in Oklahoma. (Id. ¶¶ 3-5).

       All publication and sales activities relating to Mrs. Soto’s Alpha’s Claim books have

always been conducted by Blushing Books and other third-party publishers and retailers (e.g.,

Amazon). (Id. ¶ 8). Mrs. Soto has not engaged in any such business activity in her personal

capacity—in Oklahoma or elsewhere. (Id.). The only contact Mrs. Soto has with Oklahoma is

that some of her books have been purchased by Oklahoma residents through one of numerous

third-party publishers and retailers, including Blushing Books, that sell of her books. (Id.).

Blushing Books is a corporation incorporated in Virginia with its principal place of business in

Charlottesville, Virginia. (Dkt. # 6, ¶ 10).

       In April 2018, Blushing Books sent DMCA takedown notices to numerous third-party

online publishers and retailers, such as Amazon, Barnes & Noble, Google Play, Apple iTunes

book store, and Draft2Digital, requesting that they remove Crave To Conquer and Crave To

Capture written by Ms. Ellis—and published by Plaintiff Quill—from their platforms. In the

DMCA notices, Blushing Books alleged that Ms. Ellis’s works published by Plaintiff Quill

infringed the copyright of Mrs. Soto in her Born To Be Bound and Born To Be Broken books.

(Dkt. # 6-4). According to the First Amended Complaint, Draft2Digital is a distributor with its

principal place of business in Oklahoma City, Oklahoma. (Dkt. # 6, ¶ 8). As alleged in the First

Amended Complaint, Draft2Digital’s Oklahoma presence provides the only relevant

jurisdictional link to Oklahoma in this lawsuit, as Zoey Ellis resides in London, England,

Plaintiff Quill is a company organized under the laws of England with its principal place of

business in London, England, and the Defendants are both based in Virginia.




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       As explained below, on these undisputed facts, Mrs. Soto should be dismissed for lack of

personal jurisdiction and improper venue.

                            ARGUMENTS AND AUTHORITIES

I.     THE COURT SHOULD DISMISS THIS LAWSUIT UNDER RULE 12(b)(2)
       BECAUSE DEFENDANT SOTO IS NOT SUBJECT TO PERSONAL
       JURISDICTION IN OKLAHOMA

       Pursuant to Fed. R. Civ. P. 12(b)(2), a court can dismiss a suit for “lack of jurisdiction

over the person.” As the party invoking federal jurisdiction, a plaintiff bears the burden of

establishing personal jurisdiction. Rockwood Select Asset Fund XI (6)-1, LLC v. Devine, Millimet

& Branch, 750 F.3d 1178, 1179 (10th Cir. 2014). The plaintiff must make a prima facie showing

by demonstrating facts that, if true, would support jurisdiction to defeat a motion to dismiss. Id.

at 1180. In deciding a motion to dismiss for lack of personal jurisdiction, the court must take as

true any undisputed jurisdictional allegations in the complaint and may also consider any

affidavits submitted by the movant contesting those allegations. Wenz v. Memery Crystal, 55

F.3d 1503, 1505 (10th Cir. 1995). Plaintiff’s mere allegation of jurisdiction within a complaint is

not enough. “[O]nly the well pled facts of plaintiff’s complaint, as distinguished from mere

conclusory allegations, must be accepted as true.” Id.

       “When, however, a defendant presents credible evidence through affidavits or other

materials suggesting the lack of personal jurisdiction, the plaintiff must come forward with

sufficient evidence to create a genuine dispute of material fact on the issue.” See Doe v. Nat’l

Med. Servs., 974 F.2d 143, 145 (10th Cir. 1992). “Only if the plaintiff meets the obligation of

contesting the credible evidence that the defendant presents does the court resolve the factual

disputes in favor of the plaintiff.” Wenz, 55 F.3d at 1505; see also Behagen v. Amateur

Basketball Ass’n of U.S.A., 744 F.2d 731, 733 (10th Cir. 1984). The Soto Declaration submitted



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herein conclusively establishes that Mrs. Soto is not subject to being sued in Oklahoma for

Quill’s cause of action.

       Personal jurisdiction over a non-resident defendant exists only when such jurisdiction is

permitted by the forum state’s long-arm statute, and only if the exercise of that jurisdiction does

not violate federal due process requirements. See Marcus Food Co. v. DiPanfilo, 671 F.3d 1159,

1166 (10th Cir. 2011). Oklahoma’s long arm statute provides that “[a] court of this state may

exercise jurisdiction on any basis consistent with the Constitution of this state or of the United

States.” Okla. Stat. tit. 12 § 2004(F). In other words, the statute allows the exercise of personal

jurisdiction “to the full extent permissible under the U.S. Constitution.” Daimler AG v. Bauman,

134 S. Ct. 746, 753 (2014). ’Accordingly, the jurisdictional analysis under state and federal law

governing due process is the same. See Rambo v. American S. Ins. Co., 839 F.2d 1415, 1416

(10th Cir. 1988) (applying Oklahoma’s long-arm statute); see also Intercon, Inc. v. Bell Atlantic

Internet Solutions, Inc., 205 F.3d 1244, 1247 (10th Cir. 2000) (“Because Oklahoma’s long-arm

statue permits the exercise of jurisdiction that is consistent with the United States Constitution,

the personal jurisdiction inquiry under Oklahoma law collapses into a single due process

inquiry.”).

       For the exercise of personal jurisdiction to be consistent with constitutional standards of

due process, the Court will consider two factors to establish personal jurisdiction. First, it “must

consider whether ‘the defendant’s conduct and connection with the forum State are such that he

should reasonably anticipate being haled into court there.’” Benton v. Cameco Corp., 375 F.3d

1070, 1075–76 (10th Cir. 2004) (quoting World–Wide Volkswagen Corp. v. Woodson, 444 U.S.

at 297, 100 S.Ct. 559 (1980)). “Second, if the defendant’s actions create sufficient minimum

contacts, [the Court] must then consider whether the exercise of personal jurisdiction over the



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defendant offends ‘traditional notions of fair play and substantial justice.” Id. (quoting OMI

Holdings, Inc. v. Royal Ins. Co. of Canada, 149 F.3d 1086 (10th Cir.1998).

       There are two types of personal jurisdiction that may flow from a defendant’s “minimum

contacts” with the forum. See Dudnikov v. Chalk & Vermilion Fine Arts, Inc., 514 F.3rd 1063,

1078 (10th Cir. 2008). “A court may assert general jurisdiction over [a defendant] to hear any

and all claims against them when their affiliations with the State are so ‘continuous and

systemic’ as to render them essentially at home in the forum State.” Goodyear Dunlop Tires

Operations, S.A. v. Brown, 564 U.S. 915, 919 (2011) (citing International, 326 U.S. at 317). “For

an individual, the paradigm forum for the exercise of general jurisdiction is the individual’s

domicile[.]” Id. at 924. Alternatively, if the defendant’s purposeful activities within the forum

state give rise to or relate to the plaintiff’s cause of action, those activities can justify specific

personal jurisdiction over the defendant for the purposes of that case. Shrader v. Biddinger, 633

F.3d 1235, 1239 (10th Cir. 2011). Plaintiff Quill cannot establish either type of personal

jurisdiction over Mrs. Soto.

       A.      There Is No General Personal Jurisdiction Over Mrs. Soto

       Mrs. Soto does not have the requisite “continuous and systematic” contacts with the State

of Oklahoma for this Court to exercise general jurisdiction over her. She does not live in

Oklahoma, does not have a mailing address in Oklahoma, does not have an Oklahoma phone

number, does not own assets in Oklahoma, does not pay Oklahoma income tax, and does not

conduct personal business in Oklahoma. (Soto Decl., ¶¶ 2-3, 5). She has also not availed herself

of the protections of Oklahoma courts by bringing litigation in the federal or state courts of

Oklahoma. (Id., ¶ 4). Simply put, Mrs. Soto does not have “continuous and systematic” contacts

with the State of Oklahoma such that she could reasonably anticipate being sued in a court in



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Oklahoma. See Bootenhoff v. Hormel Foods Corp., 2012 U.S. Dist. LEXIS 110223, at *11-12

(W.D. Okla. Aug. 7, 2012) (dismissing defendant for lack of personal jurisdiction based on facts

set forth in defendant’s affidavit that it “does not maintain offices, telephone listings, or mailing

addresses in Oklahoma, nor does it own, lease or control any real or personal property or assets

here…does not maintain bank accounts or pay taxes here”). The mere fact that some of Mrs.

Soto’s books, through third-party online publishers and retailers, end up in the hands of some

Oklahoma residents does not rise to “continuous and systematic” contacts with Oklahoma.

       Because Mrs. Soto does not have the requisite continuous and systematic contacts with

Oklahoma to establish general jurisdiction, she should be dismissed from this action for lack of

personal jurisdiction.

       B.      There Is No Specific Personal Jurisdiction Over Mrs. Soto

       “Specific jurisdiction is very different[]” than general jurisdiction. Bristol-Myers Squibb

Co. v. Super. Ct. of California, 137 S. Ct. 1773, 1780 (2017). “In order for a state court to

exercise specific jurisdiction, ‘the suit’ must ‘aris[e] out of or relat[e] to the defendant’s contacts

with the forum.’” Id. (quoting Daimler, 571 U.S. at 127). “In other words, there must be ‘an

affiliation between the forum and the underlying controversy, principally, [an] activity or an

occurrence that takes place in the forum State and is therefore subject to the State’s regulation.’”

Id. (quoting Goodyear, 564 U.S. at 919). “In determining whether personal jurisdiction is

present, a court must consider a variety of interests. These include ‘“the interests of the forum

State and of the plaintiff in proceeding with the cause in the plaintiff’s forum of choice.’” Id.

(quoting Kulko v. Superior Ct. of California, 436 U.S. 84, 92 (1978)). “But the ‘primary concern’

is ‘the burden on the defendant.’” Id. (quoting World-Wide Volkswagen, 444 U.S. at 292).




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        Thus, “[t]he minimum contacts test for specific jurisdiction encompasses two distinct

requirements: (i) that the defendant must have ‘purposefully directed its activities at residents of

the forum state,” and (ii) that “the plaintiff’s injuries must arise out of [the] defendant’s forum-

related activities.” Old Republic Ins. Co. v. Cont’l. Motors, Inc., 877 F.3d 895, 904 (10th Cir.

2017) (quoting Shrader v. Biddinger, 633 F.3d 1235, 1240 (10th Cir. 2011)). Additionally, if a

court determines that the minimum contacts standard has been satisfied, it “must then consider

whether the exercise of personal jurisdiction over the defendant offends ‘traditional notions of

fair play and substantial justice.’” OMI Holdings, 149 F.3d at 1091 (quoting Asahi Metal

Industry Co. v. Superior Court of California, 480 U.S. 102, 109 (1987)). Mrs. Soto did not

purposefully direct any activities at Oklahoma, and, even if the Court finds that she did, the

exercise of personal jurisdiction over her would offend traditional notions of fair play and

substantial justice.

                1.     Mrs. Soto Did Not Purposefully Direct Any Acts Toward Oklahoma

        Quill does not allege that Mrs. Soto personally undertook any acts in Oklahoma that

relate to its declaratory judgment or other claims. There is good reason for Quill’s failure to

plead such actions: Mrs. Soto did nothing in Oklahoma, and therefore there can be nothing that

gives rise to Quill’s claims.

        The First Amended Complaint alleges that jurisdiction underlying Quill’s claims stem

from a single notice sent to Draft2Digital providing notice under the DMCA of the alleged

copyright infringement of Mrs. Soto’s Alpha’s Claim Series. The DMCA notice was emailed by

Blushing Books from Virginia to Draft2Digital; since the DMCA notice was emailed to

Draft2Digital rather than mailing to an Oklahoma address, it cannot be proven if there is any

connection whatsoever between the notice or its subject matter and any residents of Oklahoma.



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In any event, Blushing Books’ DMCA notice, without more, is insufficient to satisfy the

requirements of jurisdictional due process over Mrs. Soto, an out-of-state individual. This is

entirely consistent with Tenth Circuit precedent that the “existence of letters or telephone calls to

the forum state related to the plaintiff’s action will not necessarily meet due process standards.”

Rambo v. American Southern Ins. Co., 839 F.2d 1415, 1418 (10th Cir. 1988).

       Moreover, even if the DMCA notice was sent to Draft2Digital in Oklahoma, that

communication would not be attributable to Mrs. Soto. “Each defendant’s contacts with the

forum State must be assessed individually.” Calder v. Jones, 465 U.S. 783, 790 (1984) (citing

Rush v. Savchuk, 444 U.S. 320, 322 (1980)). Here, Mrs. Soto did not purposefully direct any

activities at Oklahoma, including drafting or sending the DMCA takedown notice to

Draft2Digital or other third-parties. As Exhibit 3 attached to Plaintiff’s First Amended

Complaint shows, Blushing Books sent the DMCA takedown notice to all of the third-party

publishers and retailers, including Draft2Digital. Thus, even if the Court finds that it can exercise

personal jurisdiction over Blushing Books, which Mrs. Soto argues that it cannot, it should

dismiss all of Plaintiff’s claims against Mrs. Soto because she did not personally direct any acts

or activities into the state of Oklahoma. The Tenth Circuit discussed this doctrine, labeled the

no-imputed-contacts rule, in Newsome v. Gallacher, 722 F.3d 1257, 1275-76 (10th Cir. 2013).

There, the court mentioned that this rule was actually part of the due process calculation and

stated that the contacts of a corporate entity with Oklahoma cannot be automatically imputed to

its employees, officers, directors, or agents for purposes of assessing whether the individual is

subject to personal jurisdiction in Oklahoma. Id. Thus, under the no-imputed-contacts rule,

Blushing Books’ act of sending the DMCA notice to an Oklahoma corporation cannot be




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imputed onto Mrs. Soto, and therefore, is insufficient to establish personal jurisdiction over her

as a matter of law.

       Quill has not identified, nor could it ever establish, any activities by Mrs. Soto

purportedly directed toward Oklahoma residents and relating to Quill’s cause of action.

Plaintiff’s allegations on “information and belief” are proven untrue by the Soto Declaration.

(Soto Decl., ¶ 10).

               2.      Exercise Of Personal Jurisdiction Over Mrs. Soto Would Offend
                       Traditional Notions Of Fair Play And Substantial Justice

       In determining whether exercise of jurisdiction is so unreasonable as to violate “fair play

and substantial justice,” Tenth Circuit courts will consider five factors: (1) the burden on the

defendant, (2) the forum state's interest in resolving the dispute, (3) the plaintiff's interest in

receiving convenient and effective relief, (4) the interstate judicial system's interest in obtaining

the most efficient resolution of controversies, and (5) the shared interest of the several states in

furthering fundamental substantive social policies. OMI Holdings, 149 F.3d at 1095 (citing Asahi

Metal Indus. Co., Ltd. v. Superior Court of California, Solano Cty., 480 U.S. 102, 113 (1987).

       Here, the burden on Mrs. Soto is great as she is an author who has been forced to hire

Oklahoma counsel so that she can litigate over 1,200 miles away from her home in Virginia.

Mrs. Soto would experience significant financial costs, outside of the costs of litigation, for

traveling to and from Oklahoma in order to defend against Plaintiff’s claims.          Additionally,

Oklahoma’s interest in resolving this dispute is near zero because no party involved in this suit is

a citizen or resident of Oklahoma, and the case is primarily based on federal copyright law.

Moreover, the most important witnesses, in fact, maybe the only necessary witnesses, in this suit

are Mrs. Soto and representatives of Blushing Books responsible for sending the takedown

notice, all of whom are located in Virginia.

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       In short, Mrs. Soto has no personal business contacts with Oklahoma, and she has not

directed any activities towards Oklahoma that relate to Quill’s cause of action. It can hardly be

considered “reasonable” and “fair” under the circumstances to assert personal jurisdiction over

Mrs. Soto given the complete absence of any relevant contacts. Thus, there is no proper exercise

of specific personal jurisdiction over Mrs. Soto in this case.

II.    THIS CASE SHOULD BE DISMISSED UNDER RULE 12(b)(3) FOR IMPROPER
       VENUE, OR ALTERNATIVELY, THIS CASE SHOULD BE TRANSFERRED
       PURSUANT TO 28 U.S.C. § 1404(a)

       Title 28, section 1400 of the United States Code provides a special venue statute for cases

relating to copyrights and patents. Section 1400(a) relates to copyrights and states that “civil

actions, suits, or proceedings arising under any Act of Congress relating to copyrights . . . may be

instituted in the district in which the defendant or his agent resides or may be found.” Some

courts that have had occasion to determine the meaning of “may be found” in this provision have

held that a defendant is “found” in any district in which personal jurisdiction may be obtained

over him. See, e.g., Brayton Purcell LLP v. Recordon & Recordon, 606 F.3d 1124, 1128 (9th Cir.

2010), abrogated on other grounds by Axiom Foods, Inc. v. Acerchem Intl., Inc., 874 F.3d 1064,

1069 (9th Cir. 2017); Milwaukee Concrete Studios, Ltd. v. Field Mfg. Co., Inc., 8 F.3d 441, 445

(7th Cir. 1993) (citing cases).

       Here, Plaintiff has failed to satisfy its burden to show that venue properly lies in this

District as Mrs. Soto has not conducted any activities, nor has she directed any activities in this

district or any other judicial district in Oklahoma. Based on the Plaintiff’s failure in this respect,

the action should be dismissed under Rule 12(b)(3) as well as under Rule 12(b)(2).

       Alternatively, even if the Court opted not to dismiss the action under Rule 12(b)(3), it

nevertheless should transfer the action to the Eastern District of Virginia, as permitted under 28



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U.S.C. § 1404. Specifically, section 1404(a) provides that “[t]he district court of a district in

which is filed a case laying venue in the wrong division or district shall dismiss, or if it be in the

interest of justice, transfer such case to any district or division in which it could have been

brought.”

       The purpose of §1404(a) is to prevent the waste of time, energy and money and to protect

litigants, witnesses and the public against unnecessary inconvenience and expense. Van Dusen v.

Barrack, 376 U.S. 612, 616 (1964). The venue statutes are generally intended to protect a

defendant from being forced to defend in an unfair or inconvenient forum. Leroy v. Great

Western United Corp., 443 U.S. 173, 183-84 (1979). A motion for transfer lies within the broad

discretion of the district court. See Sheriff v. Accelerated Receivables Solutions, 349 Fed. App’x

351, 355 (10th Cir. 2009).

       The determination whether an action should be transferred pursuant to 28 U.S.C.

§ 1404(a) involves two inquiries. The threshold consideration is whether the transferee forum is

one where the action “might have been brought.” 28 U.S.C. § 1404(a). Here, there can be no

question that venue was improperly laid in this District, as Mrs. Soto lacks even minimal

contacts with Oklahoma sufficient to support venue in this Court. (See discussion in sec. I above;

Soto Decl., ¶¶ 2-8). Plaintiff could have instituted this action in the Eastern District of Virginia,

where Mrs. Soto resides and where co-Defendant Blushing Books is organized and has its

principal place of business. (Id.).

       Assuming the transferee forum is appropriate, the court must then determine if transfer is

justified for the convenience of the parties and witnesses and in the interests of justice. Chrysler

Credit Corp. v. Country Chrysler, Inc., 928 F.2d 1509, 1515 (10th Cir. 1991). The Court has

broad discretion to decide motions for transfer, which are determined upon the notions of



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convenience and fairness on a case-by-case basis. Stewart Org., Inc. v. Ricoh Corp., 487 U.S. 22,

29 (1988). The Tenth Circuit has identified several factors that should be considered by a district

court in ruling on a motion to transfer:

       the plaintiff’s choice of forum; the accessibility of witnesses and other sources of
       proof, including the availability of compulsory process to insure attendance of
       witnesses; the cost of making the necessary proof; questions as to the
       enforceability of a judgment if one is obtained; relative advantages and obstacles
       to a fair trial; difficulties that may arise from congested dockets; the possibility of
       the existence of questions arising in the area of conflict of laws; the advantage of
       having a local court determine questions of local law; and, all other considerations
       of a practical nature that make a trial easy, expeditious and economical.

Emp’rs Mut. Cas. Co. v. Bartile Roofs, Inc., 618 F.3d 1153, 1167 (10th Cir. 2010). Because this

action could have been brought in the Eastern District of Virginia due to Ms. Soto’s residence

there, and because the above factors overwhelmingly favor transfer in the interests of fairness

and convenience, this action should be transferred to the Eastern District of Virginia.

       A.      Quill’s Choice of Forum Should Be Given Little, If Any, Weight

       Where a plaintiff does not reside in the forum, the Court may afford plaintiff’s choice

considerably less weight. See Emp’rs Mut., 618 F.3d at 1168. Here, Quill is a foreign corporation

with its principal place of business in London, England. (Dkt. # 6, ¶ 8). As discussed, Quill does

not have any substantial relationship with Oklahoma as Plaintiff’s First Amended Compliant

contains to allegations that Quill has facilities in Oklahoma, and it would follow that its relevant

employees and business records are located at the London, England headquarters.

       Courts also give little weight to a plaintiff’s choice of forum “where the facts giving rise

to the lawsuit have no material relation or significant connection to the plaintiff’s chosen forum.”

Id. (quoting Cook v. Atchison, Topeka & Santa Fe Ry. Co., 816 F. Supp. 667, 669 (D. Kan.

1993)). Here, the facts relevant to this action are primarily centered around the DMCA notices.

Apart from the non-party Direct2Digital, none of the operative facts relate to events in Oklahoma

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or witnesses located in Oklahoma. It appears that Quill’s only real connection to this District is

its outside counsel. However, the convenience of its litigation counsel is irrelevant. Coach v. We

Care Trading Chi., 1999 U.S. Dist. LEXIS 16489, at *3 (N.D. Ill. Oct. 13, 1999) (granting

defendants’ motion to transfer and noting that only plaintiff’s headquarters and outside counsel

were located in the original district).

        Both Defendants in this action reside in Virginia, and all of Mrs. Soto’s documents and

records are maintained in Virginia (Soto Decl., ¶ ¶ 2, 3). Accordingly, the Eastern District of

Virginia is the most convenient forum for all the parties to this action.

        B.    Accessibility And Convenience Of The Witnesses And Other Proof Favors
        Transfer

        Convenience of the witnesses is generally viewed as the most important factor in

deciding whether a case should be transferred. Cook, 816 F. Supp. at 669; see also Palace

Exploration Co. v. Petroleum Development Co., 316 F.3d 1110, 1122 (10th Cir. 2003) (limiting

its consideration of the § 1404(a) factors to the location of the witnesses). The convenience of

non-party witnesses is given greater weight than party witnesses. Amini Innovation Corp. v. Bank

& Estate Liquidators, Inc., 512 F. Supp. 2d 1039, 1043 (S.D. Tex. 2007).

        As shown above, the individuals most involved and knowledgeable regarding the books,

copyrights, DMCA notices, and otherwise, either live or regularly work in Virginia. Their

testimony is highly relevant regarding substantive copyright issues as well as alleged damages

that Quill has suffered.

        Under Fed. R. Civ. P. 45(b)(2), the subpoena power of the court extends to places

outside the district that are within 100 miles of the place of trial. A trial in this District would

deprive Mrs. Soto of compulsory process to compel the attendance of third-party witnesses

having knowledge of relevant events. Because the Eastern District of Virginia will have greater

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ability to compel testimony from third-party witnesses, this factor weighs in favor of the transfer.

See In re Genentech, 566 F.3d 1338, 1345 (Fed. Cir. 2009) (favoring transfer where a substantial

number of witnesses were within the subpoena power of the transferee venue but no witnesses

could be compelled to appear in the forum in which the suit was filed); see also In re Hoffman-

La Roche, Inc., 587 F.3d 1333, 1338 (Fed. Cir. 2009) (holding that transferee venue’s subpoena

power over at least four non-party witnesses weighed in favor of transfer); see 15 Charles A.

Wright, Arthur R. Miller & Edward H. Cooper, Federal Practice and Procedure § 3851, at 271-

75 n.7 (4th ed.2013) (citing cases) (stating that “the fact that important nonparty witnesses may

be within the subpoena power of one court but not the other is a significant issue” for

determining a transfer of venue). Mrs. Soto thus faces a real prospect of not being able to

exercise the court’s compulsory subpoena power. While Mrs. Soto may present deposition

testimony of unavailable witnesses, it would be unfair to force her to present a significant portion

of her case by deposition. Farr v. Designer Phosphate and Premix Intern., 777 F.Supp. 895, 896

(D. Kan. 1991). This factor weighs heavily in favor of transfer.

       C.      Cost Of Making The Necessary Proof Weighs In Favor Of Transfer

       The cost of making the necessary proof in this case also weighs strongly in favor of a

transfer. The fact witnesses who live, or work, in and around the Eastern District of Virginia

would have to travel a much shorter distance to testify at trial and would not require overnight

accommodations. See Price v. Takata Corp., 2008 U.S. Dist. LEXIS 65121, at *11 (D.N.M. Aug.

14, 2008) (granting motion to transfer, noting that fact witnesses would have a shorter distance to

travel to the transferee venue and would not have to spend the night there); see also Seamless

Interactive, LLC v. LG Electronics, 2009 U.S. Dist. LEXIS 107562, *8, 2009 WL 3857426, at *3

(N.D. Okla. Nov. 18, 2009) (“Since none of the parties, witnesses or sources of proof are located



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in this jurisdiction, the overall cost of litigating the case here is quite likely to be higher than if

the case were to be litigated in New Jersey or California. Therefore, this factor favors transfer.”).

Regardless if the trial is held in the Western District of Oklahoma or in the Eastern District of

Virginia, some employees of Quill will have to travel. The cost of litigating in the Western

District of Oklahoma is more expensive for all parties, given that no party is a resident of

Oklahoma. Accordingly, this factor weighs heavily in favor of transfer.

        D.       Transfer Will Not Result In A Conflict Of Laws

        In the instant litigation, regardless of whether the case proceeds in the Western District of

Oklahoma or in the Eastern District of Oklahoma, federal patent law will apply. This factor is

therefore neutral in the analysis of transfer, as neither forum has an advantage over the other in

this area.

        Simply put, there can be no question that venue was improperly laid in this District, as

Mrs. Soto lacks even minimal contacts with Oklahoma sufficient to support venue in this Court.

(See discussion above; Soto Decl., ¶¶ 2-8). On the other hand, Plaintiff could have instituted this

action in the Eastern District of Virginia, where Mrs. Soto resides and where Blushing Books is

organized and has its principal place of business. (Dkt. # 6, ¶ 10; Soto Decl., ¶ 2). As Mrs. Soto

has no employees, agents, facilities, assets, accounts, business licenses, or tax liability in

Oklahoma, there clearly can be no argument that defense witnesses are concentrated in this

District or elsewhere in Oklahoma and that forum conveniens principles should weigh in favor of

trying the action here. (See Soto Decl., ¶¶ 2-7). Therefore, the action should be transferred to

Virginia at the very least, even if the Court opts not to dismiss it.




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                                      CONCLUSION

       For the foregoing reasons, Defendant Soto respectfully requests that this case be

dismissed because jurisdiction and venue are improper. In the alternative, Defendant Soto

requests transfer to the Eastern District of Virginia for the convenience of the parties and

witnesses and to promote judicial economy.

                                             Respectfully submitted,

Date: November 26, 2018                      s/Shawn M. Dellegar
                                             Shawn M. Dellegar, OBA #20973
                                             Deric McClellan, OBA #32827
                                             CROWE & DUNLEVY, P.C.
                                             500 Kennedy Building
                                             321 South Boston Avenue
                                             Tulsa, OK 74103-3313
                                             (918) 592-9800
                                             (918) 592-9801 (Facsimile)
                                             shawn.dellegar@crowedunlevy.com
                                             deric.mcclellan@crowedunlevy.com

                                             And

                                             Tynia Watson, OBA #30765
                                             CROWE & DUNLEVY, P.C.
                                             Braniff Building
                                             324 North Robinson Avenue, Suite 100
                                             Oklahoma City, OK 73102-8273
                                             (405) 235-7700
                                             (405) 239-6651 (Facsimile)
                                             tynia.watson@crowedunlevy.com

                                             ATTORNEYS FOR DEFENDANT
                                             RACHELLE SOTO, A/K/A ADDISON CAIN




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                                CERTIFICATE OF SERVICE

        I hereby certify that on this 26th day of November, 2018, I electronically transmitted the
attached document to the Court Clerk using the ECF System for filing. Based on the records
currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to the following
ECF registrants (names only are sufficient):

       Gideon A. Lincecum glincecum@holladaychilton.com
       Dylan D. Erwin     derwin@holladychilton.com
       Rebecca L. Briggs  beckybriggslaw@gmail.com


                                                    /s/ Shawn M. Dellegar
                                                    Shawn M. Dellegar




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